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MD\AS: 2018R00757 Disi.ef Ge Ye AD
IN THE UNLED Sha Fs RerRicT COURT
FOR THE DISPRICT:OF MARYLAND
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DOPUTY
CRIMINAL NO. RDB-19-0020

  
 

 

UNITED STATES OF AMERICA

Vv.

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PAUL ALEXANDER,
a/k/a “DAVID PAUL HAYES,”
a/k/a “SHORTY,”

(Conspiracy to Distribute and Possess
with Intent to Distribute Controlled
Substances, 21 U.S.C. § 846; Possession
with Intent to Distribute Controlled
Substances; Possession of a Firearm in
Relation to a Drug Trafficking Crime;
Possession of a Firearm by a
Prohibited Person; and Forfeiture, 21
U.S.C, § 853, 28 U.S.C. § 2461(c); Fed.
R. Crim. P. 32.2(a))

x OX

Defendant.

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SUPERSEDING INDICTMENT

COUNT ONE
Conspiracy to Distribute a Controlled Substance

The Grand Jury for the District of Maryland charges:

From in or about April 2018 and continuing until through the filing of the Superseding

Indictment, in the District of Maryland and elsewhere, the defendant,
PAUL ALEXANDER,
a/k/a “DAVID PAUL HAYES,”
a/k/a “SHORTY,”

did knowingly and intentionally combine, conspire, confederate, and agree with one another and
others known and unknown to the Grand Jury to distribute and possess with intent to distribute
400 grams or more of a quantity of a mixture or substance containing a detectable amount of N-
pheny|l-N-[1-(2-phenylethyl)piperidin-4-yl] propanamide, also known as fentanyl, a Schedule IJ
controlled substance, in violation of 21 U.S.C. §§ 841(a)(1).

21 U.S.C. § 846
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COUNT TWO
Possession with Intent to Distribute a Controlled Substance

The Grand Jury for the District of Maryland further charges:
On or about November 6, 2018, in the District of Maryland and elsewhere, the defendant,
PAUL ALEXANDER,
a/k/a “DAVID PAUL HAYES,”
a/k/a “SHORTY,”
did knowingly and intentionally possess with intent to distribute 400 grams or more of a quantity
of a mixture or substance containing a detectable amount of N-phenyl-N-[1-(@-
phenylethyl}piperidin-4-yl] propanamide, also known as fentanyl, a Schedule II controlled

substance.

21 U.S.C. § 841(a)(1)
18 U.S.C. §2
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COUNT THREE
Possession with Intent to Distribute a Controlled Substance

The Grand Jury for the District of Maryland further charges:
On or about January 2, 2019, in the District of Maryland and elsewhere, the defendant,
PAUL ALEXANDER,
a/k/a “DAVID PAUL HAYES,”
a/k/a “SHORTY,”
did knowingly and intentionally possess with intent to distribute 400 grams or more of a quantity
of a mixture or substance containing a detectable amount of N-phenyl-N-[1-(2-
phenylethyl)piperidin-4-yl] propanamide, also known as fentanyl, a Schedule II controlled

substance.

21 U.S.C. § 841(a)(1)
18 U.S.C. §2
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COUNT FOUR
Possession of a Firearm in Relation to a Drug Trafficking Crime

The Grand Jury for the District of Maryland further charges that:
On or about January 2, 2019 in the District of Maryland, the defendant,
PAUL ALEXANDER,
a/k/a “DAVID PAUL HAYES,”
a/k/a “SHORTY,”
did knowingly possess a firearm, to wit: one Glock 23 pistol bearing serial number BDZ372, in
relation to a drug trafficking crime for which he may be prosecuted in a court of the United States,
that is, the offense charged in Count One of this Superseding Indictment, Conspiracy to Distribute

Controlled Substances, in violation of Title 21, United States Code, Section 846.

18 U.S.C. § 924(c)
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COUNT FIVE
Possession of a Firearm by a Prohibited Person

The Grand Jury for the District of Maryland further charges that:
On or about January 2, 2019 in the District of Maryland, the defendant,
PAUL ALEXANDER,
a/k/a “DAVID PAUL HAYES,”
a/k/a “SHORTY,”
having been convicted of a crime punishable by imprisonment for a term exceeding one year, did
knowingly possess in and affecting interstate commerce a firearm and ammunition, that is, one

Glock 23 pistol bearing serial number BDZ372, and did so knowingly.

18 U.S.C. § 922(g)(1)
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FORFEITURE ALLEGATION
The Grand Jury for the District of Maryland further finds that:

1, Pursuant to Rule 32.2, Fed. R. Crim. P., notice is hereby given to the defendant that
the United States will seek forfeiture as part of any sentence in accordance with Title 21, United
States Code, Section 853, and Title 28, United States Code, Section 2461(c), in the event of the
defendant’s convictions under Count, Count Two, or Count Three of this Superseding Indictment.

Narcotics Forfeiture
2. As aresult of the offense set forth in Count One, incorporated herein, the defendant
shall forfeit:

a. $4,400,100.91 in United States Currency;

b. One 2018 Mercedes Benz bearing Vehicle Identification Number (“VIN”)
WDD1J6GB7JF008418;

c. One 2017 Land Rover bearing VIN SALWR2FE7HA146120;

d. One 2018 Volvo bearing VIN YV440MUM0J2006048;

e. Six Rolex watches seized from 7789 Arundel Mills Boulevard, Apartment 47,
Hanover, Maryland, on January 2, 2019; |

f. Two Cartier bracelets with diamonds seized from 7789 Arundel Mills
Boulevard, Apartment 47, Hanover, Maryland, on January 2, 2019;

g. One silver, diamond tennis bracelet seized from 7789 Arundel Mills Boulevard,
Apartment 47, Hanover, Maryland, on January 2, 2019;

h. Two Louis Vuitton bags seized from 7789 Arundel Mills Boulevard, Apartment

47, Hanover, Maryland, on January 2, 2019;

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i. One Rolex watch seized from 2743 Crowley Street, Apartment B, Hanover,
Maryland, on January 3, 2019;

j. any property constituting, or derived from, any proceeds obtained, directly or
indirectly, as the result of such violations; and

k. any property used or intended to be used, in any manner or part, to commit, or
to facilitate the commission of, such violations.

3. The property to be forfeited includes any funds that were furnished or intended to
be furnished in exchange for controlled substances and constitutes proceeds traceable to such
exchanges and was used or intended to be used to facilitate a violation of the Controlled Substances
Act.

Substitute Assets
4. If any of the property described above, as a result of any act or omission of any —
defendant, |
a. cannot be located upon the exercise of due diligence;
b. has been. transferred or sold to, or deposited with, a third person;
c. has been placed beyond the jurisdiction of the Court;
d. has been substantially diminished in value; or,
e. has been commingled with other property which cannot be subdivided without
difficulty

the United States of America shall be entitled to forfeiture of substitute property.
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21 U.S.C. § 853
28 U.S.C. § 2461 (c)
Firearms Forfeiture
5, Pursuant to Rule 32.2, Fed. R. Crim. P., notice is hereby given to the defendants,

that the United States will seek forfeiture as part of any sentence in accordance with Title 18,
United States Code, Section 924(d)}, as a result of the offense alleged in Count Four and Count
Five of the Superseding Indictment, the defendant shall forfeit:

a. One Glock Model 23 .40 caliber pistol bearing serial number BDZ372, and

ammunition.

18 U.S.C. § 924(d)
28 U.S.C. 8 2461

 

A TRUE BILL:

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SIGNATURE REDACTED TG

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